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Form 9
                                                             OCT 2 2 2010
  FORM 9. Certificate of Interest
                                                          United States Court of Appeals
                                                                              If Ul
  UNITED STATES COURT OF APPEALS FOR THE FEDERAL CIRCl!JIIlfJ

              SOVERAIN SOFTWARE                       v. NEWEGG                                United States Court of Appe~~
              -----------------------                                                             for The Fe~eral Circuit
                                                No. 2011-1oog


                                    CERTIFICATE OF INTEREST
 Counsel for the (petitioner) (appellant) (respondent) (appellee) (amicus) (name of party)
 APPELLEE, SOVERAIN SOFTWARE        certifies the following (use ''None" if applicable; use extra sheets
 if necessary) :
 1.      The full name of every party or amicus represented by me is:
 SOVERAIN SOFTWARE LLC



 2.      The name of the real party in interest (if the party named in the caption is not the real
 party in interest) represented by me is:
 NONE



 3.      All parent corporations and any publicly held companies that own 10 percent or more
 of the stock of the party or amicus curiae represented by me are:
 NONE



 4. 0 The names of all law firms and the partners or associates that appeared for the party
 or amicus now represented by me in the trial court or agency or are expected to appear in this
 court are:
 See Attached .




                   Date
                                                            i!h~ ~~~~Q()7
                                                                        Signature of co~nsel
                                                          T~r4-~                      L . ~ \k aV,V£-JT(
                                                                      Printed name o counsel
 Please Note: All questions must be answered
 cc: ____________________________




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                  Case: 11-1009   Document: 10    Page: 2    Filed: 10/22/2010




                                       2011-1009



    UNITED STATES COURT OF APPEALS FOR THE FEDERAL CIRCUIT



                              SOVERAIN SOFTWARE LLC,

                                                 Plaintiff-Appellee,

                                           v.

                                    NEWEGG INC.,

                                                 Defendant-Appellant.

APPEAL FROM THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF TEXAS IN CASE NO. 07 -CV-0511, JUDGE
LEONARD DAVIS



       APPELLEE'S ATTACHMENT TO CERTIFICATE OF INTEREST


4. The names of all law firms and the partners or associates that appeared for the
party or amicus now represented by me in the trial court or agency or are expected
to appear in this court are:

JONES DAY: Kenneth R. Adamo, Thomas Demitrack, Thomas L. Giannetti,
Mark C. Howland, George T. Manning, Barry R. Satine, Jennifer Seraphine,
Ognian V. Shentov, Andrey Belenky, Kenneth Canfield, Clark Craddock, Lynda Q.
Nguyen, Debra R. Smith, Stela C. Tipi.

THE ROTH LAW FIRM: Carl R. Roth, Amanda Aline Abraham, Brendan Clay
Roth.

SIEBMAN BURG PHILLIPS & SMITH: Michael C. Smith.



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